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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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				Go to Today february, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				6feb10:00 am- 1:00 pmOral Arguments
							Event DetailsMonday, February 6, 2017
10:00 AM


	S16G1245 York v. RES-GA LJY, LLC
	S17A0465 Ricks v. The State
	S16G0890 Jones v. The State
	S17A0450 Milbourne et al., Propounders v. Milbourne, Caveator
	S17X0451 Milbourne, Caveator v. Milbourne [...]
							
							
									Event Details
									Monday, February 6, 2017
10:00 AM

S16G1245 York v. RES-GA LJY, LLC
S17A0465 Ricks v. The State
S16G0890 Jones v. The State
S17A0450 Milbourne et al., Propounders v. Milbourne, Caveator
S17X0451 Milbourne, Caveator v. Milbourne et al., Propounders


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										Time(Monday) 10:00 am - 1:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
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				1/26/17 – SUPREME COURT TO HOLD SESSION AT EMORY LAW
						
				
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